  1:17-cv-02930-TLW-SVH           Date Filed 03/28/19   Entry Number 42      Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                   AIKEN DIVISION

LaKrystal Coats, as Personal                )     C. A. No.: 1:17-cv-02930-TLW-SVH
Representative of the Estate of             )
Demetric Cowan,                             )
                                            )
                       Plaintiff,           )
                                            )
       v.                                   )
                                            )     REPLY IN SUPPORT OF MOTION
                                            )     FOR SUMMARY JUDGMENT ON
Ray Pope, in his individual capacity,       )     BEHALF OF DEFENDANTS
FNU Nichols, in his individual capacity,    )     MONTGOMERY, MURRAY, AND
FNU Cardarelli, in his individual capacity, )     DAVIS
FNU White, in his individual capacity,      )
Gerald Brooks, in his official capacity as  )
Chief of Police of the City of Greenwood, )
Sidney Montgomery, in his individual        )
capacity, Roy Murray, in his individual     )
capacity, Pamela Osborne, in her individual )
capacity, and Tony Davis, in his official   )
capacity as Sheriff of Greenwood County, )
                                            )
                       Defendants.          )

       Defendants, Montgomery, Murray and Davis, filed their motion and memorandum in

support of summary judgment on February 2, 2019. The Plaintiff filed a response on March

7, 2019. (The plaintiff’s response references an internet research article and the report of

James Aiken. Neither is admissible and neither is in the form of admissible evidence as

required by the F.R.C.P. 56. The article is not admissible under the federal rules. (See Fed.

R. Evid. 701, 703, 801 and 803). See also Perry v. Jones, 2016 WL 2747262, Hinton v.

McCabe, 2018 WL 1542238 and Solt v. Boeing, 2018 WL 1583977. Further, it is noted that

the report of Mr. Aiken contains statements and opinions that he is not qualified to make and

his report is not a declaration made under penalty or perjury.)
  1:17-cv-02930-TLW-SVH          Date Filed 03/28/19     Entry Number 42       Page 2 of 10




       The response filed by the Plaintiff makes reference to the traffic stop, events at the

detention center and detailed facts, but the response of the Plaintiff fails to address the main

issue raised by these Defendants in their motion and that is the question as to causation, and

the question as to whether or not any earlier medical intervention would have prevented

Cowan’s death. The Plaintiff has identified no medical experts and has provided no expert

testimony as to the critical issue of causation. Further, the issue of causation in this case is

beyond the common knowledge and ordinary experience of a lay person, and expert
testimony is required.

       Cowan was taken to the Greenwood County Detention Center by a City of Greenwood

police officer and he was signing documents in the booking area at 22:02:49. He appeared

totally normal at that time, even using the ATM machine, and he was later placed in a

holding cell at approximately 22:28:42. Inmate Cowan was moved from holding cell one to

holding cell two for closer observation at 3:34:11 after his cellmate indicated that Cowan had

thrown up. At approximately 3:34 am until approximately 4:13 am Cowan was observed and

watched by a bodycam video. At 4:13 am EMS was called and Cowan was unresponsive. The

date of death indicated is March 13, 2016 and the time of death is indicated at 04:17. (It

should be noted that Daylight Savings Time started on March 13, 2016. These times are

taken from the video footage from cameras mounted in the Detention Center.) See Exhibit

A, Booking Video. The Plaintiff contends that Cowan was in the throes of a medical

emergency on March 13, 2016, calling for emergency medical intervention. The response of

                                          Page 2 of 10
     1:17-cv-02930-TLW-SVH          Date Filed 03/28/19     Entry Number 42      Page 3 of 10




the Plaintiff makes reference to Cowan being removed to a holding cell at 3:30 on March 13,

2016 for what the Plaintiff asserts to be “an acute medical crisis.” Assuming those facts, for

the record and for the purpose of this motion, the Plaintiff nevertheless fails to come forward

with any evidence to create a genuine issue of material fact that any type of medical

intervention at that time would have prevented Cowan’s death.

I.         THERE IS NO EVIDENCE TO SUPPORT THE CLAIM THAT EARLIER
           MEDICAL INTERVENTION WOULD HAVE PREVENTED COWAN’S
           DEATH.

      A.          The uncontroverted evidence is that Cowan ingested a quantity of cocaine prior

to being brought to the detention center, that he never requested medical care, that he never

informed any detention officer that he had ingested cocaine, and that Cowan’s death at or

before 4:17 am on March 13, 2016 was due to and caused from drug toxicity (cocaine). See

postmortem report, Exhibit C, to defendant’s Memorandum in support of summary judgment.

See death certificate, Exhibit E, to defendant’s Memorandum in support of summary

judgment.

           The Plaintiff’s memorandum includes a very detailed recitation of facts and references
to depositions. Aside from reciting facts, however, the Plaintiff fails to point to any evidence

to create a genuine issue of material fact that intervention at an earlier point in time and/or

at 3:30 am on the morning of March 13, 2016 would have prevented Cowan’s death. The

Plaintiff does not present any evidence as to what type of medical intervention should have

been done or that it would have been successful.

           This is clearly a case where the causation requires expert medical evidence and
testimony. The Plaintiff has come forward with no evidence whatsoever as to the treatment,
                                             Page 3 of 10
  1:17-cv-02930-TLW-SVH          Date Filed 03/28/19     Entry Number 42      Page 4 of 10




the timing of intervention, the type of intervention, the options of treatment or what the
prognosis would be in this case. To the contrary, the Defendants actually have competent

expert testimony and evidence that intervention when Cowan first exhibited signs and
symptoms unfortunately would not have prevented his death.

       The Plaintiff’s memorandum makes reference to a single “uncommon” case study

report published online on November 24, 2016 from the Institute of Forensic Science and

Legal Medicine Ministry of National Security Jamaica and the Department of Forensic

Medicine, AIIMS, BHOPAL, India. Respectfully, that article is not admissible evidence and

it is not properly before the court. It does not provide conclusions applicable to the facts of

this case nor is it proper opinion evidence to be considered at summary judgment or at trial.

As is noted by the co-defendant, nothing in the article appears to make reference to what

medical interventions and/or lifesaving measures can be productive after a body pack of

cocaine has been ruptured. The simple conclusion appears to be “early intervention and

detection of drug body packs in such cases could possibly save a life.” That is hardly

admissible evidence and it certainly does not meet the standard required of expert evidence

or testimony.


       See Carver v. Med. Soc'y of S.C., 286 S.C. 347, 350, 334 S.E.2d 125, 127
       (Ct.App.1985).

       Negligence is not actionable unless it is a proximate cause of the injury
       complained of, and negligence may be deemed a proximate cause only when
       without such negligence the injury would not have occurred or could have
       been avoided. When one relies solely upon the opinion of medical experts to
       establish a causal connection between the alleged negligence and the **800
       injury, the experts must, with reasonable certainty, state that in their
       professional opinion, the injuries complained of most probably resulted from
       the defendant's negligence. The reason

                                          Page 4 of 10
  1:17-cv-02930-TLW-SVH         Date Filed 03/28/19     Entry Number 42       Page 5 of 10




      for this rule is the highly technical nature of malpractice litigation. Since many
      malpractice suits involve ailments and treatments outside the realm of ordinary
      lay knowledge, expert testimony is generally necessary.


    See Baughman v. Am. Tel. & Tel., 306 S.C. 101, 111, 410 S.E.2d 537, 543 (1991);

      It is not sufficient for the expert to testify merely that the ailment might or
      could have resulted from the alleged cause. He must go further and testify that
      taking into consideration all the data it is his professional opinion that the
      result in question most probably came from the cause alleged. In determining
      whether particular evidence meets this test it is not necessary that the expert
      actually use the words “most probably.” It is sufficient that the testimony is
      such “as to judicially impress that the opinion ... represents his professional
      judgment as to the most likely one among the possible causes.”

Baughman, 306 S.C. at 111, 410 S.E.2d at 543 (citations omitted).

      See also Edwards v. Graham Cty. Jail, No. 1:16-CV-315-FDW, 2017 WL 5894496, at

*6 (W.D.N.C. Nov. 29, 2017)


      To demonstrate this resulting injury, a deliberate indifference inmate who
      contends “that delay in medical treatment rose to a constitutional violation
      must place verifying medical evidence in the record to establish the
      detrimental effect of delay in medical treatment to succeed.” Hill v. Dekalb
      Reg'l Youth Det. Ctr., 40 F.3d 1176, 1188 (11th Cir. 1994). To withstand a
      motion for summary judgment, the non-moving party is required to forecast
      expert medical evidence in order to show proof of causation—that is, whether
      the alleged delay in treatment caused any injury. See Alberson v. Norris, 458
      F.3d 762, 765-66 (8th Cir. 2006) (“Where the complaint [ asserting a Section
      1 9 8 3 claim for inadequate medical treatment] involves treatment of a prison's
      sophisticated medical condition, expert testimony is required to show proof of
      causation.”). Without expert testimony pertaining to causation, a layperson
      cannot determine the nature of Plaintiff's medical condition as it existed on
      September 19, 2015, the available treatments for it, the probable medical
      outcomes for each such treatment, or the detrimental effect, if any, of the
      alleged delay on those outcomes. An average juror has no basis in common
      knowledge or ordinary experience to determine whether delays in treatment or
      other factors caused or exacerbated the injury about which Plaintiff complains.
      It would be entirely speculative for a jury to decide that a delay in transporting

                                         Page 5 of 10
  1:17-cv-02930-TLW-SVH          Date Filed 03/28/19      Entry Number 42      Page 6 of 10




       Plaintiff for medical care earlier would have resulted in a different result.


       See also Martasin v. Hilton Head Health System, 613 S.E.2d 795, 364 S.C. 430 (2005)


       The affidavit of Dr. Kim Collins specifically addresses the facts of this case and in her
affidavit included as Exhibit B, Dr. Collins spells out her qualifications and experience and
makes reference to the autopsy and the toxicology report and the other evidence she reviewed
in this case. Her opinion as is stated in her affidavit is as follows:


       Most probably to a degree of reasonable medical certainty even if officers had
       summoned emergency assistance at or around 3:30 am on the morning of
       March 13, 2016 when Cowan first exhibited signs and symptoms of any type
       of medical issue, Mr. Cowan’s death was most probably not preventable due
       to his having ingested cocaine as shown on the autopsy and by toxicology,
       which was not known to those on scene.
              The Plaintiff tries to suggest in her response that Cowan should have been
       B.

refused at intake until a medical evaluation was done by a certified health care provider either

at the jail or at a hospital. In her response, Plaintiff makes reference to pp. 93 - 108 of the

deposition of James Aiken. Mr. Aiken, admittedly, is not a medical professional and he offers

no opinion on the causation issue. (See page 96.)

              Alright. And now, in this case, you’re certainly not offering any medical
       Q.
              opinions, are you.
              No, I’m not.
       A.
              You’re not offering any medical opinions as to Mr. Cowan’s cause of death
       Q.
              or his time of death?
              I do not have the expertise.
       A.


                                           Page 6 of 10
  1:17-cv-02930-TLW-SVH          Date Filed 03/28/19     Entry Number 42      Page 7 of 10




              And you’re not offering any opinions as to what interventions may or may
       Q.
       not
              have made a difference with Mr. Cowan in his outcome.
              Other than from an operational prospective.
       A.



       Q.     That’s right. You’re not offering any opinion, sir, as to what any
              interventions would have made a difference or not made a difference
              in the outcome for Mr. Cowan, are you?
              I’m not offering any medical opinions regarding that. That is correct.
       A.



       The report of James Aiken makes reference to the video recording and, upon
information and belief, the video referred to in Aiken’s report is from a body cam video
starting at 2:55:31 and ending at 3:15:46. ( Upon information and belief, the times reference
in that body cam video are actually one hour behind due to Daylight Savings Time.) The
Plaintiff’s reference to the report of James Aiken again in no way provides competent
evidence to suggest that medical intervention at an earlier point in time would have prevented
Cowan’s death. Further, the actual report of Mr. Aiken is not admissible evidence and it is
not an affidavit for summary judgment purposes.
       To the extent the Plaintiff contends that Cowan should have been seen in a hospital
or emergency department or examined by a health care professional before booking, it is
totally speculative at what difference, if any, that would have made. There is no testimony
that would indicate that if in fact Cowan had been taken into an emergency department or to
a hospital or examined by a nurse what he would have told about his medical history, and it
is totally speculative to think he would have then said he had ingested cocaine. Likewise,
there is absolutely no competent testimony or evidence to indicate that, in fact, if taken to a
hospital or emergency department that Cowan would have been treated for any specific
condition and/or what type of assessment or examination, if any, would have been done and
                                          Page 7 of 10
  1:17-cv-02930-TLW-SVH         Date Filed 03/28/19     Entry Number 42      Page 8 of 10




what would have resulted from any such examination and/or assessment. Further, there is no
evidence whatsoever that Cowan would have been either admitted or held at the hospital in
an emergency department for a period of time for observation.

The suggestion that prior to booking that Cowan should have been examined by a hospital

and/or emergency department or health care professional leads to nothing more than

speculation as to what he would have reported as his medical history and/or what treatment,

if any, he would have had. There is simply no evidence in the record to give rise to an issue

of fact that a medical evaluation prior to booking would have in any way changed the

outcome and/or prevented Cowan’s death due to drug toxicity from ingesting cocaine.

II.    THERE IS NO GENUINE ISSUE OF MATERIAL FACT TO GIVE RISE TO
       A CONSTITUTIONAL CLAIM FOR DELIBERATE INDIFFERENCE TO A
       DENIAL OF MEDICAL CARE IN THIS CASE AND UNDER THESE FACTS
       AND THESE DEFENDANTS ARE ENTITLED TO QUALIFIED IMMUNITY


       On the morning of March 13, 2016 at 3:30 a.m. Cowan’s behavior changed and

officers became concerned about him; however, at that time they had no information with

which to make a decision that he was suffering from a serious medical condition and/or that

he had ingested a bag of cocaine in a sufficient amount to result in drug toxicity and death.

       The actual recitation in the Plaintiff’s response memorandum is a critical hindsight

critique of the Defendants’ actions; however, in real time there was little or no opportunity

to determine how serious Cowan’s condition would be or what was happening. Respectfully,

this is not deliberate indifference giving rise to liability under Section 1983. Further, even

a failure to carry out policies and procedures is not necessarily deliberate indifference


                                         Page 8 of 10
  1:17-cv-02930-TLW-SVH          Date Filed 03/28/19      Entry Number 42       Page 9 of 10




although it may constitute negligence. See Belcher v. Oliver, 898 F.2d (1990).

                                       CONCLUSION

Summary judgment is not a disfavored procedural shortcut and in fact summary judgment is

favored as a mechanism to secure the just, speeding and expensive determination of a case

when it its proper use can avoid the cost of a trial. Thompson Everett, Inc. v. Nat’l Cable

Adver., L.P. , 57 F.3d 1317 (4th Cir. 1995). Factual disputes to defeat summary judgment must

be material and genuine and the district courts should ensure that both conditions are satisfied

before a case goes to trial. In this case the Plaintiff bears the burden of showing that there is

a genuine issue of material fact as to causation and as to whether or not earlier medical

intervention could have prevented Cowan’s death. The court cannot and should now have

to engage in speculation as to the Plaintiff’s evidence or theory of the case.         Here the

Plaintiff has failed to come forth with evidence to create a genuine issue of fact as to

causation which is a necessary element of her case, and to the contrary the Defendants have

come forth with evidence that precludes an issue of fact as to causation. Accordingly,

Defendants respectfully submit that they are entitled to summary judgment.

                                            Respectively submitted,

                                            CHAPMAN, HARTER & HARTER, P.A.

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                                                                 Page 9 of 10
 1:17-cv-02930-TLW-SVH       Date Filed 03/28/19     Entry Number 42   Page 10 of 10




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March 28, 2019




                                     Page 10 of 10
